Case 2:13-cr-00034-TSK-MJA Document 136 Filed 01/24/14 Page 1 of 3 PageID #: 415




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF WEST VIRGINIA

   UNITED STATES OF AMERICA

                   Plaintiff

    v.                                            CRIMINAL ACTION NO. 2:13-cr-34-5

    ERIC SCOTT PENNINGTON,

                   Defendant.

                                         ORDER/OPINION

           On the 24th day of January, 2014, came the United States of America by Stephen D.

    Warner, Assistant United States Attorney, and also came the defendant, Eric Scott Pennington,

    in person, and by his counsel, L. Richard Walker, for a hearing on a Petition for Action on

    Conditions of Pretrial Release filed by Defendant’s Adult Pretrial Services Officer on January

    14, 2014.

           Defendant was indicted by the grand jury on August 27, 2013 and appeared via summons

    for an initial appearance and arraignment before the undersigned on September 10, 2013. At that

    time, Defendant was released pursuant to an Order Setting Conditions of Release. On December

    2, 2013, Defendant appeared before the undersigned and pled guilty to the possession of

    pseudoephedrine to be used in the manufacture of methamphetamine. On January 14, 2013,

    Defendant’s Adult Pretrial Services Officer filed a Petition for Action on Conditions of Pretrial

    Release, alleging that Defendant violated the conditions upon which he was released on

    September 10, 2013.

           Prior to the taking of evidence, Defendant, through counsel, admitted to the factual

    allegations contained in the Petition and conceded that he had violated the conditions of his
Case 2:13-cr-00034-TSK-MJA Document 136 Filed 01/24/14 Page 2 of 3 PageID #: 416




    release. The Court advised Defendant of the effect of his admission, and, upon inquiry,

    determined his admission was made freely, knowingly, and voluntarily. Upon consideration of

    Defendant’s admission, the Court concludes and finds by a preponderance of the evidence that

    Defendant violated the conditions of his pretrial, post-guilty plea release.

              The Government filed a Motion to Detain, invoking mandatory detention pursuant to 18

    U.S.C. § 3143(a)(2). Defendant, through counsel, orally moved for home detention, advising that

    his parents and grandparents were present in the courtroom, and that his mother was willing to

    have Defendant live in her home on home detention. Through counsel, he advised that he is

    currently receiving medical treatment following severe burns he recently sustained to his right

    arm. Defendant received a skin graft for his burns at the West Penn Burn Center in Pittsburgh,

    Pennsylvania. Defendant’s counsel did indicate that the regional jail is providing medical

    treatment to Defendant for his condition.

              Upon consideration of all which, the Court finds Defendant pled guilty to a crime which

    falls under 18 U.S.C. § 3142(f)(1)(C), and is awaiting sentencing. The undersigned therefore

    finds that 18 U.S.C. § 3143(a)(2) applies.

              Accordingly, the United States’ Motion for Detention is GRANTED, and Defendant’s

    release is REVOKED. Defendant’s oral motion for home detention is DENIED. Defendant is

    remanded to the custody of the United States Marshal Service pending further proceedings in this

    matter.

              The Court notes that 18 U.S.C. § 3142(i) authorizes a judicial officer to “permit the

    temporary release of the person, in the custody of a United States marshal or another appropriate

    person, to the extent that the judicial officer determines such release to be necessary . . . for [a]

    compelling reason.” As indicated above, Defendant has primarily received treatment for his

    burns at the West Penn Burn Center in Pittsburgh, Pennsylvania. Accordingly, should Defendant

                                                     2
Case 2:13-cr-00034-TSK-MJA Document 136 Filed 01/24/14 Page 3 of 3 PageID #: 417




    require medical treatment beyond that which he is receiving at the regional jail, the Court, upon

    notification from the parties, will consider a temporary furlough for the purpose of medical

    treatment should it be justified by Defendant’s needs and circumstances.

           Defendant is advised of his right to appeal this decision to Chief United States District

    Judge John Preston Bailey.

           It is so ORDERED.

           The Clerk shall direct copies of this order to counsel for the United States, to counsel for

    the defendant, to the United States Marshal, and to the United States Probation Officer.

           DATED: January 24, 2014

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                                                  JOHN S. KAULL
                                                  UNITED STATES MAGISTRATE JUDGE




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